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                  United States Court of Appeals
                                FIFTH CIRCUIT
                             OFFICE OF THE CLERK
LYLE W. CAYCE                                                TEL. 504-310-7700
CLERK                                                     600 S. MAESTRI PLACE,
                                                                  Suite 115
                                                         NEW ORLEANS, LA 70130

                              May 26, 2023
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 23-10319    Mock v. Garland
                      USDC No. 4:23-CV-95

Enclosed is an order entered in this case.


                                 Sincerely,
                                 LYLE W. CAYCE, Clerk

                                 By: _________________________
                                 Lisa E. Ferrara, Deputy Clerk
                                 504-310-7675
Mr.   Ryan Baasch
Mr.   Richard Brent Cooper
Mr.   Erik Scott Jaffe
Mr.   Sean Janda
Mr.   Benjamin Lewis
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